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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

SMS FINANCIAL RECOVERY                         )
SERVICES, LLC                                  )
                                               )
                         Plaintiff,            )
                                               )
vs                                             ) Case No. 1:23-cv-15666
                                               )
GARY LEVITAS and NORTHFIELD                    )
PROPERTIES, INC,                               )
                                               )
                         Defendant.            )

                                           COMPLAINT

       SMS FINANCIAL RECOVERY SERVICES, LLC, (“SMS Financial”) hereby complains

against the Defendants, GARY LEVITAS (“LEVITAS”) and NORTHFIELD PROPERTIES,

INC, (“NORTHFIELD”)(collectively “The Defendants”) as follows:

                                        Nature of the Action

1.     The Plaintiff, SMS Financial as assignee of Fifth Third Bank, successor by merger to MB

Financial Bank, brings this action for breach of a Resource Note executed by the Defendants

GARY LEVITAS and NORTHFIELD PROPERTIES, INC. For relief, SMS Financial seeks

damages in the principal amount of $249,999.99, plus attorneys’ fees and costs.

                                       Jurisdiction and Venue

2.          This Court has original jurisdiction over this action pursuant to 28 U.S.C. § 1332

because the amount in controversy exceeds the sum of $75,000, exclusive of interest and costs,

and there is complete diversity between the parties who are citizens of different states as follow:

       a.        The Plaintiff SMS Financial Recovery Services, LLC and its respective members
                 are citizens of Arizona. See Exhibit A, hereto;

       b.        The Defendant LEVITAS is a citizen of the State of Illinois, domiciled in
                 Northbrook, Illinois; and
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        c.       The Defendant NORTHFIELD is an Illinois corporation with its principal place
                 of business located in Northbrook Illinois.

                                                 Venue

3.       Pursuant 28 U.S.C. § 1391, venue is proper in this Court because the Defendants reside

in the Northern District of Illinois and a substantial part of the events or omissions giving rise to

the claim occurred in this judicial district.

                                                The Note

4.      On or about June 30, 2011, LEVITAS and NORTHFIELD executed a Recourse Note

with MB Financial Bank, whereby they each jointly and severally agreed to pay MB Financial

the principal amount of $250,000 together with interest. (“Note”) A true and correct copy of the

Note is attached as Exhibit B.

5.      The Note provided that the principal amount of the Note, together with all accrued

interest and all other amounts owing thereunder would become due and payable in full no later

than three years after the date of the Note or by June 30, 2014 (“The Maturity Date”)

6.      Interest payments under the Note were due and payable in quarterly installments

commencing on the fifth day of each month immediately succeeding the date of the Note and

continuing on the fifth day of each September, December, March and June thereafter until the

Maturity Date.

7.      An event of default under the Note would occur if The Defendants failed to pay all

amounts due thereunder on the Maturity Date.

8.      The Defendants made some quarterly installment payments of interest on the Note prior

to the Maturity Date but failed to pay the full amount of the principal amount owed on the

Maturity Date.

9.      As of the Maturity Date, the principal amount outstanding on the Note was $249,999.99.

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10.        The Defendants defaulted on the Note on June 30, 2014 by failing to make pay the

principal amount owed or any other amounts due under the Note when the Note reached its

Maturity Date.

11.        By failing to pay the full principal amount due on the Maturity Date, The Defendants

materially breached the Note.

12.        The Note also provided for The Defendants to pay the cost of enforcement of the Note,

including attorney fees and court costs incurred in the collection of all amounts due under the

Note upon default. [Exhibit A, Par. 12]

                                 The Assignment of Loan documents

13.        On August 29, 2023, Fifth Third Bank, as successor by merger to MB Financial Bank,

assigned to SMS Financial all of its rights, title and interest in the Note executed by The

Defendants, together with all related loan documents. (“Assignment”) A true and correct copy of

the redacted Assignment is attached as Exhibit C.

14.        Pursuant to the Assignment, SMS Financial became the bona fide owner of the Note and

assumed all rights to enforce the Note and other Loan Documents against The Defendants.

15.        The Defendants’ failure to pay the principal amount due under the Note has caused SMS

Financial to suffer damages in the principal amount of $249,999.99.

16.        The Plaintiff has fully performed all of its obligations required under the Note.

           Wherefore, the Plaintiff SMS FINANCIAL RECOVERY SERVICES, LLC requests that

this Court enter judgment in its favor and against the Defendants GARY LEVITAS and

NORTHFIELD PROPERTIES, INC, both jointly and severally and to award it the following

relief:

           a.     Award the Plaintiff the principal amount of $249,999.99;

           b.     Award the Plaintiff its court costs and reasonable attorneys’ fees; and
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      c.     Award the Plaintiff such additional relief that the Court deems just and proper.

                                           SMS FINANCIAL RECOVERY SERVICES, LLC

                                           By: /s/ Marshall J. Burt
                                           Its attorney



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                          STATEMENT OF CITIZENSHIP OF
                     SMS FINANCIAL RECOVERY SERVICES, LLC

       SMS Financial Recovery Services, LLC is an Arizona limited liability company
organized under the laws of Arizona with its principal place of business located in Phoenix, AZ.
The two members of SMS Financial Recovery Services, LLC are SMS Management, LLC and
SMS Financial, LLC. Each of the members have citizenship as follows:

       1)      SMS Management, LLC is a limited liability company organized under the
               laws of Arizona and has its principal place of business in Phoenix AZ. The
               three members of SMS Management, LLC are 1) Two Med Investments, LLC;
               2) J&R Capital, LLC and 3) DJS Capital, LLC. Each of the members have
               citizenships as follows:

               a.     Two Med Investments, LLC is a limited liability company organized under
                      the laws of Arizona with its principal place of business located in Phoenix,
                      AZ. The two members of Two Med Investments, LLC are Benjamin
                      Myers and Colette Myers

                      i.      Benjamin Myers is an individual who is a resident and citizen of
                              Arizona.

                      ii.     Colette Myers is an individual who is a resident and citizen of
                              Arizona.

               c.     J&R Capital, LLC is a limited liability company organized under the laws
                      of Arizona with its principal place of business located in Phoenix, AZ. The
                      members of J&R Capital, LLC are Jonathan Hoffer and Rachel Hoffer.

                      i.      Jonathan Hoffer is an individual who is a resident and citizen of
                              Arizona.

                      ii.     Rachel Hoffer is an individual who is a resident and citizen of
                              Arizona.

               d.     DJS Capital, LLC is a limited liability company organized under the laws
                      of Arizona with its principal place of business located in Phoenix, AZ. The
                      sole member of DJS Capital, LLC is Daniel Shorr. Daniel Shorr is an
                      individual who is a resident and citizen of Arizona.


                                                                                  EXHIBIT A
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 2)    SMS Financial, LLC is a limited liability company organized under the laws of
       Arizona with its principal place of business in Phoenix, AZ. The three members
       of SMS Financial, LLC are 1) Two Med Investments, LLC; 2) J&R Capital,
       LLC and 3) DJS Capital, LLC. Each of the members have citizenships as
       follows:

       a.     Two Med Investments, LLC, is a limited liability company organized
              under the laws of Arizona and its principal place of business is located in
              Phoenix, AZ. The two members of Two Med Investments, LLC are
              Benjamin Myers and Colette Myers

              i.     Benjamin Myers is an individual who is a resident and citizen of
                     Arizona.

              ii.    Colette Myers is an individual who is a resident and citizen of
                     Arizona.

       b.     J&R Capital, LLC is a limited liability company organized under the
              laws of Arizona and its principal place of business is located in Phoenix,
              AZ. The members of J&R Capital, LLC are Jonathan Hoffer and Rachel
              Hoffer.

              i.     Jonathan Hoffer is an individual who is a resident and citizen of
                     Arizona.

              ii.    Rachel Hoffer is an individual who is a resident and citizen of
                     Arizona.

       c.     DJS Capital, LLC is a limited liability company organized under the
              laws of Arizona and its principal place of business is located in Phoenix,
              AZ. The sole member of DJS Capital, LLC is Daniel Shorr. Daniel Shorr
              is an individual who is a resident and citizen of Arizona.
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                                                                            EXHIBIT B
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                                                                          EXHIBIT C
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